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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                    WEST PALM BEACH DIVISION

                                     CASE NO. 23-80101-CR-CANNON


  UNITED STATES OF AMERICA,

          Plaintiff,

  v.

  DONALD J. TRUMP and
  WALTINE NAUTA,

        Defendants.
  ________________________________/

                                     FIRST SPEEDY TRIAL REPORT

          Pursuant to Local Rule 88.5 and the Court’s Omnibus Order Setting Trial Date and

  Establishing Pretrial Instructions and Sentencing Procedures (ECF No. 28), both of which require

  the filing of Speedy Trial Reports, the United States hereby files this Speedy Trial Report regarding

  the status of this case under the Speedy Trial Act of 1984, 18 U.S.C. § 3161 et seq (“Speedy Trial

  Act”).1 The United States submits that as of this writing, post-indictment, five non-excludable

  days have elapsed under the Speedy Trial Act and 23 days have been tolled since June 13, 2023,

  the date on which the defendants first appeared before a judicial officer in the court in which the

  charges are pending,

          A federal grand jury indicted Donald J. Trump and Waltine Nauta on June 8, 2023. ECF

  No. 3. They had their initial appearances on June 13, 2023 (ECF Nos. 16, 18), thereby triggering

  the requirement that trial occur within seventy days from that date. 18 U.S.C. § 3161(c)(1).



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   Counsel for both defendants have reviewed this filing and have authorized the government to represent that they
  concur with the Speedy Trial Act calculations set forth herein.
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  Seventy days from June 13, 2023, is August 22, 2023, and the Court has currently set trial for

  August 15, 2023. ECF No. 28.

          The filing of pretrial motions automatically stops the speedy trial clock. See 18 U.S.C. §

  3161(h)(1)(D); United States v. Tinklenberg, 563 U.S. 647 (2011). When computing time under

  the Speedy Trial Act, both the day on which a motion is filed and the day on which the Court

  disposes of the motion are excluded. United States v. Yunis, 723 F.2d 795, 797 (11th Cir. 1984).

          On June 16, 2023, after two days of non-excludable time had elapsed, the government filed

  an uncontested Motion for Protective Order. ECF No. 23. Judge Reinhart disposed of the motion

  by granting it on June 19, 2023 (ECF No. 27), resulting in four days of excludable time. On June

  23, 2023, after three additional days of non-excludable time, the government filed three motions,

  including a Motion to Continue Trial.2 ECF No. 34. As of this writing, the Court has not disposed

  of that motion, resulting in an additional nineteen days of excludable time.

          Therefore, in sum, as of this date, five days of non-excludable time under the Speedy Trial

  Act have elapsed, and the Speedy Trial Act time has been tolled for 23 days. With the days that

  have been tolled, the final date on which trial can occur in compliance with the Speedy Trial Act

  is September 14, 2023.

                                                    Respectfully submitted,

                                                    JACK SMITH
                                                    Special Counsel


                                            By:     /s/ Jay I. Bratt______________________________
                                                    Jay I. Bratt

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     On June 23, 2023, the government also filed a Motion for a Pretrial Conference Pursuant to Classified
  Information Procedures Act (ECF No. 32) and a Motion for Bond to Implement Special Condition of Release (ECF
  No. 33). The Court disposed of both of those motions on June 26, 2023. ECF Nos. 41 and 42. Because the
  government’s Motion to Continue Trial (ECF No. 34) is still pending, the other two motions do not affect the
  Speedy Trial Act calculations. On July 10, 2023, defendant Nauta filed a Motion to Continue Pretrial CIPA
  Conference (ECF No. 63), which the government opposed (ECF No. 64). The parties subsequently agreed, with
  Court permission, to move the hearing to July 18, thereby rendering the motion moot.

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                                 CERTIFICATE OF SERVICE

        I, Jay I. Bratt, certify that on July 11, 2023, I electronically filed the foregoing document

  with the Clerk of Court using CM/ECF.


                                              /s/ Jay I. Bratt______________________________
                                              Jay I. Bratt




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